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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                )
ex rel., JENNIFER PITTMAN,               )
SCOTT PITTMAN, JESSICA                   )
PERKINS, CHRISTOPHER                     )
PERKINS, DEBBIE JORDAN; and              )
                                         )
THE STATE OF OKLAHOMA,                   )
ex rel., JENNIFER PITTMAN,               )
SCOTT PITTMAN, JESSICA                   )
PERKINS, CHRISTOPHER                     )
PERKINS and DEBBIE JORDAN,               )
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )         Case No. CIV-13-1129-R
                                         )
LXE COUNSELING, LLC,                     )
LEXIE DARLENE GEORGE a/k/a               )
LEXIE DARLENE BATCHELOR,                 )
and HEATHER DOSS,                        )
                                         )
      Defendants.                        )

                                      JUDGMENT

      In accordance with the Orders entered herein on January 25, 2017 and February 6,

2017, Judgment is hereby entered as follows:

      Judgment pursuant to 31 U.S.C. § 3730(h) against LXE Counseling, LLC and Lexie

Batchelor in the amount of $239,000.00 to Plaintiff Debbie Jordan and in the amount of

$62,400.00 to Plaintiff Christopher Perkins.

      Judgment for attorney fees against LXE and Lexie Batchelor in the amount of

$38,641.93 and against Heather Doss in the amount of $1,360.07.



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IT IS SO ORDERED this 6th day of February 2017.




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